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                      Standardized Fund Accounting Reporting for MSC Holdings - Cash Basis
                             Receivership; Civil Court Docket No. 1:12-CV-04028-SCJ
                                     Reporting Period: 03/15/16 - 12/31/16

FUND ACCOUNTING:
                                                             Checking       MM Acct       MM Acct
                                                             Acct #7787      #0922         #0955           Total
           Beginning Balance 03/15/2016                        $10,874.29   $449,411.29 $1,407,241.88   $1,867,527.46
           Increases in Fund Balance:
Line 2     Business Income
Line 3     Cash and Securities                                                             $17,500.00     $17,500.00
Line 4     Interest/Dividend Income                                            $895.78      $2,614.51      $3,510.29
Line 5     Business Asset Liquidation
Line 6     Personal Asset Liquidation
Line 7     Third-Party Litigation Income                                                  $289,565.00
           TOTAL INCREASE IN FUND BALANCE
           (Lines 2-8):                                             $0.00      $895.78    $309,679.51    $310,575.29
Line 8     Miscellaneous - Transfers between accounts         $255,395.39                                $255,395.39
           Total Increases in Acct Balance:                   $255,395.39      $895.78    $309,679.51

           Decreases in Fund Balance:
Line 9     Disbursements to Investors

Line 10    Disbursements for Receivership Operations:
              Disbursements to Receiver or Other
Line 10a      Professionals                                   $231,360.84                                $231,360.84
Line 10b      Business Asset Expenses
Line 10c      Personal Asset Expenses                           $1,436.32
Line 10d      Investment Expenses
Line 10e      Third-Party Litigation Expenses
                 1. Attorney Fees                              $15,465.00
                 2. Litigation Expenses                         $1,267.39
                 3. Mediation Expenses                              $0.00
                       Total Third-Party Litigation
                       Expenses                                $16,732.39
Line 10f   Tax Administrator Fees and Bonds
Line 10g   Federal, State, County Tax Payments                  $5,798.46
Line 10h   Insurance (Property)                                 $2,896.67
Line 10i   Administrative Expenses                                                                             $0.00
           Total Disbursements for Receivership
           Operations                                         $258,224.68                       $0.00    $258,224.68
Line 10j   Miscellaneous - Transfers between accounts                        $20,000.00   $235,395.39    $255,395.39
           Total Decreases in Account Balance                 $258,224.68    $20,000.00   $235,395.39    $513,620.07

           Disbursements for Distribution Expenses Paid by
Line 11    the Fund:
Line 11a   Distribution Plan Development Expenses:

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                      Standardized Fund Accounting Reporting for MSC Holdings - Cash Basis
                             Receivership; Civil Court Docket No. 1:12-CV-04028-SCJ
                                     Reporting Period: 03/15/16 - 12/31/16

                1. Fees:
                     Fund Administrator
                     Independent Distribution Consultant
                     (IDC)
                     Distribution Agent
                     Consultants
                     Legal Advisers
                     Tax Advisers
                2. Administrative Expenses
                3. Miscellaneous - Transfers between
                accounts
                         Total Plan Development
                         Expenses
Line 11b   Distribution Plan Implementation Expenses:
                 1. Fees:
                        Fund Administrator
                        IDC
                        Distribution Agent
                        Consultants
                        Legal Advisers
                        Tax Advisers
                 2. Administrative Expenses
                 3. Investor Identification:
                        Notice/Publishing Approved Plan
                        Claimant Identification
                        Claims Processing
                        Web Site Maintenance/Call Center
                 4. Fund Administrator Bond
                 5. Miscellaneous
                 6. Federal Account for Investor Restitution
                 (FAIR) Reporting Expenses
                            Total Plan Implementation
                            Expenses
           Total Disbursements for Distribution Expenses
           Paid by the Fund


Line 12    Disbursements to Court/Other:
              Investment Expenses/Court Registry
Line 12a      Investment System (CRIS) Fees
Line 12b      Federal Tax Payments
           Total Disbursements to Court/Other
           TOTAL DECREASE IN FUND BALANCE
           (LINE 9-12):


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                      Standardized Fund Accounting Reporting for MSC Holdings - Cash Basis
                             Receivership; Civil Court Docket No. 1:12-CV-04028-SCJ
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Line 13    Ending Balance 12/31/16:                            $8,045.00   $430,307.07 $1,481,526.00   $1,919,878.07

Line 14    Ending Balance of Fund - Net Assets:
Line 14a        Cash & Cash Equivalents 12/31/16                                                       $1,919,878.07
Line 14b        Investments
Line 14c        Other Assets or Uncleared Funds
           Total Ending Balance of Fund - Net Assets                                                   $1,919,878.07




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